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Proposed Attorneys to .leV Group, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                        Case No. 19-13563-mg

     lCV GROUP,LLC                                            Chapter II


                Debtor-in-Possession

                DECLARATION OF DAYlD MALEH: (I) IN SUPPORT OF FIRST
                DAY MOTIONS AND APPLlCAT10NS; AND (II) PURSUANT TO
                         LOCAL BANKRUPTCY RULE 1007-2
           I, DA YlD MALEH , of full age, declare pursuant 10 28 U.S.C. § 1746 as follows:


           1.     1 am the Chief Executive Officer of ICV Group, LLC ("Debtor" or

"lCV"). I make this declaration in compliance with Local Bankruptcy Rule 1007-2 (this

"Declaration"). Unless otherwise set forth herein, I have personal knowledge of the facts

set forth below or have consulted with responsible parties with personal knowledge

concerning these matters and if called as a witness I could and would testify competently

thereto.

                              BACKGROUND OF THE DEBTOR

           2.     ICV designs and manufactures its own brands as well as licensed

wholesale baby. home and pet products that it sells domestically and internationally.

lev was established in and is based in New York City, operating from its offices and

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showroom at 65 West 37th Street, Suite 300, New York, New York. JCV is a New York

LLC whose members boast 30 plus years of experience in manufacturing and wholesale.

              A.     JCV's Capital Structure

         3.        In 2017, JCV had gross sales of $9, 155,547.00 dollars leaving

approximately $2,089 ,519 in gross margin. [n 2018 , JCV increased sales drastically, by

nearly 30%. yielding gross revenue in the amount of $13,267,850.00 with gross margin

of $2,748,222-a significant increase with only a modest rise in expenditures.                          2019,

however, has proven to be far different and has been characterized by a lack of interest in

the marketplace for a number of its branded products. This lack of demand coupled with

costly minimum guaranteed royalties to licensors has resulted in dismal sales through

Septemher 2019, of only $5,572,391.49.

              8.     JCV as Licensee

         4.        JeV is a party to a number of valuable li censing agreements for

manufacture and sale of branded products in particular categories with Authentic Brands

Group, Inc. ("ABG")i as licensor (or license administrator) these include the following:

                   (a)     ABO-AERO [PCO, LLC dated July I, 2017
                           ("Aero");

                   (b)     Estate of Marilyn Monroe LLC dated January I,
                           2018, ("MM");

                   (c)     ABO Juicy Couture, LLC dated August 1, 2018
                           ("Juicy");

                   (d)     ABO-Shaq, LLC dated January 1, 2018, ("Shaq")




I Many of the licenses are with what are believed to be related single purpose entities (0 ABG in which
particular brands of intellectual property rights are held and licensed to third parties like lCV. For purpose
of this Declaration, ABG is referred to as the Licensor. notwithstanding that the specific actual licensor
may be a related entity (e.g. AUG-AERO IPCO. LLC).
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                     (e)      Muhammad Ali Enterprises, LLC dated January I ,
                              2018 , ("Muhammad"

                     (f)      ABO-EPE [P LLC, dated January I, 20 18, ("Elvis
                              Presley")

                     (g)      Dog for Dog, LLC dated October 8, 2018 , ("Dog
                              for Dog"); and

                     (h)      US Army Trademark Licensing Program dated
                              January 1,2018 ("US Army")

Collectively, the ahove-described licenses represent a significant source of income for

l ev and more importantly, the above li censes authorize the sale and manufacture of

approximately $492,276.30 in branded inventory most of which, if not all, is already sold,

in transit to buyers, or is the subject of confirmed purchase orders as of thi s date.

Additionally, leV is party to a strategic alliance agreement with Samsung C&T America,

fnc. ("Samsung Fashion") by which Samsung Fashion is leV's exclusive purchasing and

finance agent in a certain delineated territories for certain products in which Samsung

Fashion purchase, imports, and delivers products owned by or licensed through l eV.

                C.     Events Leading to the Chapter .11 Petition

           5.        IC V's profitability has suffered drastically in light of several industry-

wide and ICV specific losses. By way of exanlple. ICV suffered an immediate $500,000

loss resulting from the In re National Stores Inc. bankruptcy case2 which saw the closing

of several Fallas retail        stores~key   buyers of lCV products. Similarly, ICV suffered a

morc than $500,000 dollar loss earlier this year resulting from inventory thefts at public

warehouses in the State of New Jersey and the State of California. Though JCY did in

fact insure their inventory against these losses, I CV is presently in protracted talks with



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its insurancc carrier who has, as of thi s date, yet to conclude its investigation over

whether it will honor the warehouse loss claim and pay leV for the stolcn inventory.

             D.    Licensing Relationship Dispute

        6.        Over the course of the last several quarters, the minimum guaranteed

royalties ("MGR") payable to ABO on a number of brands and products have become

onerous. In many instances, the cost of the MOR's far exceeds the sales of the licensed

products resulting in a significant loss to the DebtQr. The high costs of the MGR's

coup led with, in some instances the narrowing of sales channels and in other instances

refusal to expand sales chaI111els by ABO, resulted in the Debtor making costly payments

to maintain standing with ABO despite an unfavorable demand from buyers tor the

licensed goods in question within channels made available to leV and approved undcr

the relevant licenses.

        7.        Despite having made every MOR payment to ABO, prior to October 20 19~

and working diligently to reduce operating expenses through staff cuts and downsizing,

following tbe inability to make the October MOR payment to ABO, ABO notified JCV

ofa default oftbe license agreements. in its default correspondence, ABO asserted it had

the right to, but not the obligation, to terminate the licenses as a result of tbe defaults.

Amongst others. ABO asserted in its correspondence to lCV that upon termination, leV

would lose the ability to sell branded merchandjse licensed by ABO, which as a practical

matter jeopardizes the entirety of ICV ' s branded inventory which as stated above is

worth $492,276.30.

        8.        leV had hoped to reach a mutually acceptable compromise with ABO

regarding the default notices transmitted in late October from ABO; however. leV

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received       email    notices of temlination ailer-hours on November 5, 20 19 at

approximately7:30 p.m. which-purported to become effective 24 hours later on

November 6, 20 19. Hard copy notices sent via UPS still have not been received. As a

result, lCV had no choice but to seek protection in chapter 1 I on an emergency basis to

avoid a forfeiture of the ability to sell its already produced and sold inventory by resort to

the protections embodied in the automatic stay under 11 U.S.C. §362 and to further

preserve the value of its estate for all of its creditors and stakeholders involved through

the valuable licenses in which it has invested significant monies and goodwill.

              E.       Employees

         9.        As of this date, JCV employs and contracts with approximately 5 full and

part-time employees at its showroom and offices in New York City. In addition, JCV

relies on 12 independent " 1099" contractors with whom it regularly conducts business in

the nature of commission sales.

           F.          Secured Creditors
         JO.       lCV has a small secured creditor body. JCV is a party to that certain

' Discount Factoring Agreement with Merchant Factors Corp.' C"Merchants" or "Factor")

dated April 4, 2016 by and between Merchants as factor and JCV as account debtor

("Factoring Agreement"). Pursuant to the Factoring Agreement, JCV sold its purchase

order receivables-which were financed by Merchants pursuant to the terms of the

Factoring Agreement. As co ll ateral, Merchants took both the right to receive payment

from the ultimate customer in addition to a first priority blanket lien against all of l CV's

assets, inventories and general intangibles.      Following a successful relationship with

Merchants through 2018 and with the consummation of the Samsung agreement


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referenced above, JeV was able to eliminate its need for purchase order financing from

Merchants and no longer needed to factor invoices through the lender to continue its

operations. As such, Merchants has not extended credit to JeV for some time. As of this

date however, Merchants is owed approximatel y $160,000 as a result of charge-backs and

disputed invoices from Je V customers which were assigned to Merchants under the

Factoring Agreement and which were not paid by the customers, all of which represent

secured claims under the Factoring Agreement. As such, it is believed that Merchants

will assert a secured claim in the amount 0[$160,000 against the Debtor's estate.

              G.    General Unsecured Creditors
         II .      JCV has a number of unsecured creditors consisting of vendors and

service providers and importantly its landlord at its showroom and offices3•                          JCV

estimates its total unsecured creditor body is $3.6 million and the value of its assets is

conservatively, $1.97 million.

              H.    First Day Motions
         12.       Contemporaneously with the commencement of these cases I have

authorized the Debtor to tile the following "First Day" pleadjngs which are necessary and

critical to the Debtor's overall success in thi s Chapter 11 case, they are as follows:

         1.        Debtor's Motion for Order Authorizing the Debtor·in-Possession
                   to Pay and Honor Certain Pre-petition Claims for Wages, Salaries,
                   Employee Benefits and Other Compensation and Withholdings and
                   Deductions, Continue to Provide Employee Benefits in the
                   Ordinary Course of Business, Pay all related costs and expenses
                   and Directing banks to receive, process, honor and pay all checks
                   presented for payment and electronic payment requests related to
                   the foregoing;




J In the preceding weeks JCV was working closely with its landlord to consensually surrender a part of its
showroom space in order to minimize its monthly leasehold commitments.
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         2.     Debtor's Application for an Order Authorizing Debtor's Interim
                and Final Use of Cash CollateraJ pursuant to 11 U.S.C. Sections
                361 and 363 and Granting Adequate Protection, Scheduling Final
                Hearing   J



         3.     Debtor's Motion for an Entry of an Order: CA) Granting Interim
                Relief Pursuant to II U.S.C. 366(b); (B) Authorizing the Payment
                of Adequate Assurance for Postpetition Utility Service Services;
                and (e) Fixing Final Hearing Date to Determine Adequate
                Assurance; and (0) Granting Other Related Relief.
         4.     Debtor's Motion for Entry or an Order Authorizing: <I) the
                Debtor's Continued Use of their Cash Management Systems; (II)
                Existing Bank ACCOW1!S; (JU) Business Forms and Books and
                Record; and (rV) Granting Re lated Relief.
I submit that the foregoing together with the motions and Top 20 Unsecured Creditor list

tiled contemporaneously with the petition in this case sets forth the infoffilation required

pursuant to Local Bankruptcy Rule 1007-2 of the U.S. Bankruptcy Court for the Southern

District of New York.

         I declare under the penalties of perjury under the laws of the United States of

America that the foregoing is true and correct.



    Dated:      November 6,2019
                New York, NY
                                                       "" •   ...   c:;:;::
                                               David Maleh




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